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                                                                                                  INVOICE
                                                                                         From     Public Catalyst
                                                                                                  99 Wood Avenue South, Suite 301
                                                                                                  Iselin, NJ 08830

                                                                                                  FEIN #: XX-XXXXXXX




Invoice ID       Texas M.D. Monitoring 21-04                                        Invoice For   Texas M.D. Monitoring
Issue Date       12/02/2021

Due Date         01/03/2022

Subject          Texas Monitoring Team: November 2021




Item Type        Description                                                           Quantity             Rate             Amount

Service          Texas Permanent Injunction - 11/01/2021 - Communication or               0.75           $395.00             $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 11/01/2021 -                                0.25           $395.00              $98.75
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Megan Annitto


Service          Texas Permanent Injunction - 11/01/2021 - Document                       1.25           $395.00             $493.75
                 Review/Data Analysis/Verification Work / Megan Annitto


Service          Texas Permanent Injunction - 11/01/2021 -                                2.00           $395.00             $790.00
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information / Lisa
                 Taylor


Service          Texas Permanent Injunction - 11/01/2021 - Communication or               1.50           $120.00             $180.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 11/01/2021 - Report and                     3.50           $395.00           $1,382.50
                 Document Preparation / Eileen Crummy


Service          Texas Permanent Injunction - 11/01/2021 - Project                        2.50           $395.00             $987.50
                 Management & Planning / Eileen Crummy


Service          Texas Permanent Injunction - 11/01/2021 - Communication or               1.50           $395.00             $592.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 11/01/2021 - Project                        0.25           $395.00              $98.75
                 Management & Planning / Megan Annitto




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Service          Texas Permanent Injunction - 11/01/2021 -                          0.75      $425.00        $318.75
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Kevin Ryan


Service          Texas Permanent Injunction - 11/01/2021 -                          0.75      $425.00        $318.75
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Kevin Ryan


Service          Texas Permanent Injunction - 11/01/2021 -                          1.75      $120.00        $210.00
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Natalie Nunez


Service          Texas Permanent Injunction - 11/01/2021 - Monitoring               1.50      $175.00        $262.50
                 Administration, Document Control, Research, Analysis
                 (Administrator Only) / Maria Lundgren


Service          Texas Permanent Injunction - 11/01/2021 -                          1.50      $395.00        $592.50
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information / Lisa
                 Taylor


Service          Texas Permanent Injunction - 11/01/2021 - Document                 0.25      $425.00        $106.25
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 11/01/2021 -                          0.25      $425.00        $106.25
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Kevin Ryan


Service          Texas Permanent Injunction - 11/01/2021 -                          1.25      $395.00        $493.75
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Megan Annitto


Service          Texas Permanent Injunction - 11/01/2021 - Report and               2.50      $395.00        $987.50
                 Document Preparation / Megan Annitto


Service          Texas Permanent Injunction - 11/01/2021 - Communication or         0.75      $395.00        $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 11/01/2021 - Document                 0.25      $395.00            $98.75
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 11/01/2021 - Project                  0.50      $425.00        $212.50
                 Management & Planning / Kevin Ryan


Service          Texas Permanent Injunction - 11/01/2021 - Document                 7.50      $395.00       $2,962.50
                 Review/Data Analysis/Verification Work / Charmaine Thomas




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Service          Texas Permanent Injunction - 11/01/2021 - Document                  0.50     $395.00          $197.50
                 Review/Data Analysis/Verification Work / Charmaine Thomas


Service          Texas Permanent Injunction - 11/01/2021 - Document                  7.00     $395.00         $2,765.00
                 Review/Data Analysis/Verification Work / Robin Coleman


Service          Texas Permanent Injunction - 11/01/2021 - Communication or          0.25     $395.00              $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 11/01/2021 - Communication or          1.50     $325.00          $487.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Melea Weber


Service          Texas Permanent Injunction - 11/01/2021 - Document                  5.25     $325.00         $1,706.25
                 Review/Data Analysis/Verification Work / Melea Weber


Service          Texas Permanent Injunction - 11/01/2021 - Communication or          0.75     $325.00          $243.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Melea Weber


Service          Texas Permanent Injunction - 11/01/2021 - Document                  3.75     $120.00          $450.00
                 Review/Data Analysis/Verification Work / Natalie Nunez


Service          Texas Permanent Injunction - 11/01/2021 - Document                  0.50     $325.00          $162.50
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 11/01/2021 - Document                  5.00         $85.00       $425.00
                 Review/Data Analysis/Verification Work / Zsa Zsa Toms


Service          Texas Permanent Injunction - 11/01/2021 - Document                  4.00     $325.00         $1,300.00
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 11/01/2021 - Document                 11.50     $250.00         $2,875.00
                 Review/Data Analysis/Verification Work / Samantha Loewen


Service          Texas Permanent Injunction - 11/01/2021 - Administration /          0.75     $175.00          $131.25
                 Nelson Ortiz


Service          Texas Permanent Injunction - 11/02/2021 - Communication or          1.50     $395.00          $592.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 11/02/2021 - Communication or          1.00     $395.00          $395.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 11/02/2021 - Communication or          0.75     $395.00          $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto




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Service          Texas Permanent Injunction - 11/02/2021 - Monitoring               3.75      $175.00        $656.25
                 Administration, Document Control, Research, Analysis
                 (Administrator Only) / Maria Lundgren


Service          Texas Permanent Injunction - 11/02/2021 - Project                  0.50      $395.00        $197.50
                 Management & Planning / Megan Annitto


Service          Texas Permanent Injunction - 11/02/2021 - Document                 1.25      $395.00        $493.75
                 Review/Data Analysis/Verification Work / Megan Annitto


Service          Texas Permanent Injunction - 11/02/2021 - Communication or         0.50      $395.00        $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Robin
                 Coleman


Service          Texas Permanent Injunction - 11/02/2021 - Communication or         0.50      $395.00        $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charlene Womack


Service          Texas Permanent Injunction - 11/02/2021 - Communication or         0.50      $395.00        $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 11/02/2021 - Communication or         1.50      $425.00        $637.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 11/02/2021 -                          0.25      $395.00            $98.75
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information / Lisa
                 Taylor


Service          Texas Permanent Injunction - 11/02/2021 - Project                  0.50      $395.00        $197.50
                 Management & Planning / Lisa Taylor


Service          Texas Permanent Injunction - 11/02/2021 -                          0.25      $425.00        $106.25
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Kevin Ryan


Service          Texas Permanent Injunction - 11/02/2021 - Communication or         0.75      $395.00        $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charlene Womack


Service          Texas Permanent Injunction - 11/02/2021 - Project                  2.00      $395.00        $790.00
                 Management & Planning / Eileen Crummy


Service          Texas Permanent Injunction - 11/02/2021 - Project                  1.25      $395.00        $493.75
                 Management & Planning / Lisa Taylor


Service          Texas Permanent Injunction - 11/02/2021 - Document                 4.25      $395.00       $1,678.75
                 Review/Data Analysis/Verification Work / Charmaine Thomas




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Service          Texas Permanent Injunction - 11/02/2021 - Document                3.50      $395.00       $1,382.50
                 Review/Data Analysis/Verification Work / Charmaine Thomas


Service          Texas Permanent Injunction - 11/02/2021 - Communication or        1.00      $395.00        $395.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 11/02/2021 - Project                 0.50      $395.00        $197.50
                 Management & Planning / Megan Annitto


Service          Texas Permanent Injunction - 11/02/2021 - Document                2.50      $425.00       $1,062.50
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 11/02/2021 - Report and              2.75      $395.00       $1,086.25
                 Document Preparation / Megan Annitto


Service          Texas Permanent Injunction - 11/02/2021 - Report and              1.00      $395.00        $395.00
                 Document Preparation / Eileen Crummy


Service          Texas Permanent Injunction - 11/02/2021 - Communication or        0.50      $395.00        $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Aileen Williams


Service          Texas Permanent Injunction - 11/02/2021 - Document                6.50      $395.00       $2,567.50
                 Review/Data Analysis/Verification Work / Aileen Williams


Service          Texas Permanent Injunction - 11/02/2021 - Communication or        1.00      $325.00        $325.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Melea Weber


Service          Texas Permanent Injunction - 11/02/2021 - Document                6.50      $395.00       $2,567.50
                 Review/Data Analysis/Verification Work / Robin Coleman


Service          Texas Permanent Injunction - 11/02/2021 - Document                5.75      $395.00       $2,271.25
                 Review/Data Analysis/Verification Work / Charlene Womack


Service          Texas Permanent Injunction - 11/02/2021 - Communication or        0.75      $395.00        $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Cheryl MacDougall


Service          Texas Permanent Injunction - 11/02/2021 - Communication or        0.75      $395.00        $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Cheryl MacDougall


Service          Texas Permanent Injunction - 11/02/2021 - Communication or        0.50      $395.00        $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Cheryl MacDougall


Service          Texas Permanent Injunction - 11/02/2021 - Document                2.50      $395.00        $987.50
                 Review/Data Analysis/Verification Work / Cheryl MacDougall




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Service          Texas Permanent Injunction - 11/02/2021 - Document                6.00      $325.00         $1,950.00
                 Review/Data Analysis/Verification Work / Melea Weber


Service          Texas Permanent Injunction - 11/02/2021 - Document                7.00      $395.00         $2,765.00
                 Review/Data Analysis/Verification Work / Nadia Sexton


Service          Texas Permanent Injunction - 11/02/2021 - Communication or        1.25      $120.00          $150.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 11/02/2021 - Document                5.75      $120.00          $690.00
                 Review/Data Analysis/Verification Work / Natalie Nunez


Service          Texas Permanent Injunction - 11/02/2021 - Document                5.00          $85.00       $425.00
                 Review/Data Analysis/Verification Work / Zsa Zsa Toms


Service          Texas Permanent Injunction - 11/02/2021 - Document                1.00      $325.00          $325.00
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 11/02/2021 - Document                1.00      $325.00          $325.00
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 11/02/2021 - Project                 0.50      $325.00          $162.50
                 Management & Planning / Tim Ross


Service          Texas Permanent Injunction - 11/02/2021 - Document                5.00          $85.00       $425.00
                 Review/Data Analysis/Verification Work / Zsa Zsa Toms


Service          Texas Permanent Injunction - 11/02/2021 - Project                 0.50          $85.00           $42.50
                 Management & Planning / Taran Dugal


Service          Texas Permanent Injunction - 11/02/2021 - Project                 1.00          $85.00           $85.00
                 Management & Planning / Taran Dugal


Service          Texas Permanent Injunction - 11/02/2021 - Document                0.50          $85.00           $42.50
                 Review/Data Analysis/Verification Work / Taran Dugal


Service          Texas Permanent Injunction - 11/02/2021 - Document                3.50          $85.00       $297.50
                 Review/Data Analysis/Verification Work / Taran Dugal


Service          Texas Permanent Injunction - 11/02/2021 - Project                 0.50      $250.00          $125.00
                 Management & Planning / June Simon


Service          Texas Permanent Injunction - 11/02/2021 - Report and              1.00      $250.00          $250.00
                 Document Preparation / June Simon


Service          Texas Permanent Injunction - 11/02/2021 - Document                0.50      $250.00          $125.00
                 Review/Data Analysis/Verification Work / June Simon


Service          Texas Permanent Injunction - 11/02/2021 - Project                 0.25      $250.00              $62.50
                 Management & Planning / June Simon




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Service          Texas Permanent Injunction - 11/02/2021 - Project                 0.50      $250.00        $125.00
                 Management & Planning / June Simon


Service          Texas Permanent Injunction - 11/02/2021 - Project                 0.50      $250.00        $125.00
                 Management & Planning / June Simon


Service          Texas Permanent Injunction - 11/02/2021 - Report and              0.75      $250.00        $187.50
                 Document Preparation / June Simon


Service          Texas Permanent Injunction - 11/02/2021 - Project                 0.25      $250.00            $62.50
                 Management & Planning / June Simon


Service          Texas Permanent Injunction - 11/02/2021 - Project                 0.50      $250.00        $125.00
                 Management & Planning / June Simon


Service          Texas Permanent Injunction - 11/02/2021 - Communication or        1.00      $325.00        $325.00
                 Meeting with the Court, a party, Monitor/Monitors' Staff / Tim
                 Ross


Service          Texas Permanent Injunction - 11/02/2021 - Document                1.00      $325.00        $325.00
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 11/02/2021 - Document                2.00      $250.00        $500.00
                 Review/Data Analysis/Verification Work / Samantha Loewen


Service          Texas Permanent Injunction - 11/02/2021 - Project                 0.50      $250.00        $125.00
                 Management & Planning / Samantha Loewen


Service          Texas Permanent Injunction - 11/02/2021 - Communication or        1.00      $250.00        $250.00
                 Meeting with the Court, a party, Monitor/Monitors' Staff /
                 Samantha Loewen


Service          Texas Permanent Injunction - 11/03/2021 - Communication or        1.25      $395.00        $493.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 11/03/2021 - Project                 3.75      $395.00       $1,481.25
                 Management & Planning / Lisa Taylor


Service          Texas Permanent Injunction - 11/03/2021 - Document                0.50      $425.00        $212.50
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 11/03/2021 - Document                1.25      $395.00        $493.75
                 Review/Data Analysis/Verification Work / Lisa Taylor


Service          Texas Permanent Injunction - 11/03/2021 - Document                7.00      $395.00       $2,765.00
                 Review/Data Analysis/Verification Work / Robin Coleman


Service          Texas Permanent Injunction - 11/03/2021 - Document                1.25      $395.00        $493.75
                 Review/Data Analysis/Verification Work / Eileen Crummy




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Service          Texas Permanent Injunction - 11/03/2021 - Project                  0.25      $395.00            $98.75
                 Management & Planning / Eileen Crummy


Service          Texas Permanent Injunction - 11/03/2021 -                          0.50      $395.00        $197.50
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information / Lisa
                 Taylor


Service          Texas Permanent Injunction - 11/03/2021 - Communication or         0.75      $395.00        $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
                 Taylor


Service          Texas Permanent Injunction - 11/03/2021 - Communication or         0.75      $395.00        $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Eileen Crummy


Service          Texas Permanent Injunction - 11/03/2021 - Project                  1.00      $395.00        $395.00
                 Management & Planning / Eileen Crummy


Service          Texas Permanent Injunction - 11/03/2021 - Document                 1.00      $395.00        $395.00
                 Review/Data Analysis/Verification Work / Charlene Womack


Service          Texas Permanent Injunction - 11/03/2021 - Document                 2.00      $395.00        $790.00
                 Review/Data Analysis/Verification Work / Charlene Womack


Service          Texas Permanent Injunction - 11/03/2021 - Communication or         1.25      $395.00        $493.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Claudia Tahan


Service          Texas Permanent Injunction - 11/03/2021 - Document                 5.75      $395.00       $2,271.25
                 Review/Data Analysis/Verification Work / Claudia Tahan


Service          Texas Permanent Injunction - 11/03/2021 - Communication or         0.50      $395.00        $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 11/03/2021 -                          0.25      $395.00            $98.75
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Megan Annitto


Service          Texas Permanent Injunction - 11/03/2021 - Communication or         0.50      $395.00        $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 11/03/2021 - Document                 3.75      $395.00       $1,481.25
                 Review/Data Analysis/Verification Work / Charmaine Thomas


Service          Texas Permanent Injunction - 11/03/2021 - Report and               6.00      $395.00       $2,370.00
                 Document Preparation / Megan Annitto


Service          Texas Permanent Injunction - 11/03/2021 - Document                 0.50      $395.00        $197.50
                 Review/Data Analysis/Verification Work / Megan Annitto


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Service          Texas Permanent Injunction - 11/03/2021 - Communication or         2.00      $395.00        $790.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 11/03/2021 - Communication or         0.25      $395.00            $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 11/03/2021 - Document                 1.00      $395.00        $395.00
                 Review/Data Analysis/Verification Work / Charmaine Thomas


Service          Texas Permanent Injunction - 11/03/2021 - Communication or         0.25      $425.00        $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 11/03/2021 - Document                 0.75      $425.00        $318.75
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 11/03/2021 - Document                 4.00      $395.00       $1,580.00
                 Review/Data Analysis/Verification Work / Charlene Womack


Service          Texas Permanent Injunction - 11/03/2021 - Document                 2.00      $395.00        $790.00
                 Review/Data Analysis/Verification Work / Cheryl MacDougall


Service          Texas Permanent Injunction - 11/03/2021 - Document                 1.00      $395.00        $395.00
                 Review/Data Analysis/Verification Work / Cheryl MacDougall


Service          Texas Permanent Injunction - 11/03/2021 - Document                 7.00      $395.00       $2,765.00
                 Review/Data Analysis/Verification Work / Jody Drebes


Service          Texas Permanent Injunction - 11/03/2021 - Document                 0.50      $325.00        $162.50
                 Review/Data Analysis/Verification Work / Mary Graw Leary


Service          Texas Permanent Injunction - 11/03/2021 - Communication or         0.25      $395.00            $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 11/03/2021 - Document                 7.00      $395.00       $2,765.00
                 Review/Data Analysis/Verification Work / Aileen Williams


Service          Texas Permanent Injunction - 11/03/2021 - Communication or         0.50      $325.00        $162.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Melea Weber


Service          Texas Permanent Injunction - 11/03/2021 - Document                 6.50      $325.00       $2,112.50
                 Review/Data Analysis/Verification Work / Melea Weber


Service          Texas Permanent Injunction - 11/03/2021 - Document                 7.00      $395.00       $2,765.00
                 Review/Data Analysis/Verification Work / Nadia Sexton


Service          Texas Permanent Injunction - 11/03/2021 - Document                 6.25      $120.00        $750.00
                 Review/Data Analysis/Verification Work / Natalie Nunez



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Service      Texas Permanent Injunction - 11/03/2021 - Communication or        0.75          $120.00         $90.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Natalie Nunez


Service      Texas Permanent Injunction - 11/03/2021 - Report and              1.50           $85.00        $127.50
             Document Preparation / Taran Dugal


Service      Texas Permanent Injunction - 11/03/2021 - Communication or        1.00          $325.00        $325.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Tim
             Ross


Service      Texas Permanent Injunction - 11/03/2021 - Report and              0.50          $325.00        $162.50
             Document Preparation / Tim Ross


Service      Texas Permanent Injunction - 11/03/2021 - Document                1.00           $85.00         $85.00
             Review/Data Analysis/Verification Work / Zsa Zsa Toms


Service      Texas Permanent Injunction - 11/03/2021 - Document                0.50           $85.00         $42.50
             Review/Data Analysis/Verification Work / Zsa Zsa Toms


Service      Texas Permanent Injunction - 11/03/2021 - Document                0.75           $85.00         $63.75
             Review/Data Analysis/Verification Work / Zsa Zsa Toms


Service      Texas Permanent Injunction - 11/03/2021 - Document                1.00          $250.00        $250.00
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/03/2021 - Report and              0.50          $250.00        $125.00
             Document Preparation / June Simon


Service      Texas Permanent Injunction - 11/03/2021 - Report and              0.25          $250.00         $62.50
             Document Preparation / June Simon


Service      Texas Permanent Injunction - 11/03/2021 - Report and              0.75          $250.00        $187.50
             Document Preparation / June Simon


Service      Texas Permanent Injunction - 11/03/2021 - Document                1.75          $250.00        $437.50
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/03/2021 - Project                 0.75          $250.00        $187.50
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/03/2021 - Document                0.25          $250.00         $62.50
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/03/2021 - Document                1.50          $250.00        $375.00
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/03/2021 - Communication or        0.75          $250.00        $187.50
             Meeting with the Court, a party, Monitor/Monitors' Staff /
             Samantha Loewen




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Service      Texas Permanent Injunction - 11/04/2021 - Communication or         0.75         $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/04/2021 - Monitoring               0.75         $175.00        $131.25
             Administration, Document Control, Research, Analysis
             (Administrator Only) / Maria Lundgren


Service      Texas Permanent Injunction - 11/04/2021 -                          0.25         $395.00         $98.75
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information / Lisa
             Taylor


Service      Texas Permanent Injunction - 11/04/2021 - Report and               0.25         $425.00        $106.25
             Document Preparation / Kevin Ryan


Service      Texas Permanent Injunction - 11/04/2021 - Communication or         0.50         $425.00        $212.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/04/2021 - Project                  0.50         $395.00        $197.50
             Management & Planning / Lisa Taylor


Service      Texas Permanent Injunction - 11/04/2021 - Document                 1.50         $395.00        $592.50
             Review/Data Analysis/Verification Work / Lisa Taylor


Service      Texas Permanent Injunction - 11/04/2021 - Communication or         0.75         $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/04/2021 - Document                 7.00         $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Charlene Womack


Service      Texas Permanent Injunction - 11/04/2021 - Communication or         0.75         $425.00        $318.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/04/2021 - Communication or         2.50         $395.00        $987.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Claudia Tahan


Service      Texas Permanent Injunction - 11/04/2021 - Document                 4.50         $395.00      $1,777.50
             Review/Data Analysis/Verification Work / Claudia Tahan


Service      Texas Permanent Injunction - 11/04/2021 - Communication or         0.75         $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/04/2021 - Document                 6.25         $395.00      $2,468.75
             Review/Data Analysis/Verification Work / Charmaine Thomas




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Service      Texas Permanent Injunction - 11/04/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/04/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/04/2021 - Communication or         0.75         $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/04/2021 - Document                 0.25         $395.00         $98.75
             Review/Data Analysis/Verification Work / Megan Annitto


Service      Texas Permanent Injunction - 11/04/2021 - Report and               5.00         $395.00      $1,975.00
             Document Preparation / Megan Annitto


Service      Texas Permanent Injunction - 11/04/2021 - Document                 7.00         $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Robin Coleman


Service      Texas Permanent Injunction - 11/04/2021 - Report and               0.75         $425.00        $318.75
             Document Preparation / Kevin Ryan


Service      Texas Permanent Injunction - 11/04/2021 - Document                 1.50         $395.00        $592.50
             Review/Data Analysis/Verification Work / Cheryl MacDougall


Service      Texas Permanent Injunction - 11/04/2021 - Document                 2.00         $395.00        $790.00
             Review/Data Analysis/Verification Work / Cheryl MacDougall


Service      Texas Permanent Injunction - 11/04/2021 - Document                 2.50         $395.00        $987.50
             Review/Data Analysis/Verification Work / Cheryl MacDougall


Service      Texas Permanent Injunction - 11/04/2021 - Document                 0.50         $395.00        $197.50
             Review/Data Analysis/Verification Work / Cheryl MacDougall


Service      Texas Permanent Injunction - 11/04/2021 - Document                 1.50         $395.00        $592.50
             Review/Data Analysis/Verification Work / Jody Drebes


Service      Texas Permanent Injunction - 11/04/2021 - Communication or         2.00         $395.00        $790.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
             Drebes


Service      Texas Permanent Injunction - 11/04/2021 - Document                 1.50         $395.00        $592.50
             Review/Data Analysis/Verification Work / Jody Drebes


Service      Texas Permanent Injunction - 11/04/2021 - Document                 3.00         $325.00        $975.00
             Review/Data Analysis/Verification Work / Mary Graw Leary


Service      Texas Permanent Injunction - 11/04/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott



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Service      Texas Permanent Injunction - 11/04/2021 - Document                 7.00        $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Aileen Williams


Service      Texas Permanent Injunction - 11/04/2021 - Communication or         0.50        $325.00        $162.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Melea Weber


Service      Texas Permanent Injunction - 11/04/2021 - Report and               1.00        $325.00        $325.00
             Document Preparation / Melea Weber


Service      Texas Permanent Injunction - 11/04/2021 - Document                 5.50        $325.00      $1,787.50
             Review/Data Analysis/Verification Work / Melea Weber


Service      Texas Permanent Injunction - 11/04/2021 - Communication or         1.00        $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Nadia
             Sexton


Service      Texas Permanent Injunction - 11/04/2021 - Document                 6.00        $395.00      $2,370.00
             Review/Data Analysis/Verification Work / Nadia Sexton


Service      Texas Permanent Injunction - 11/04/2021 - Document                 5.75        $120.00        $690.00
             Review/Data Analysis/Verification Work / Natalie Nunez


Service      Texas Permanent Injunction - 11/04/2021 - Communication or         1.25        $120.00        $150.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Natalie Nunez


Service      Texas Permanent Injunction - 11/04/2021 - Document                 0.25        $250.00         $62.50
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/04/2021 - Document                 1.75        $250.00        $437.50
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/04/2021 - Document                 0.25        $250.00         $62.50
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/04/2021 - Document                 0.75        $250.00        $187.50
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/04/2021 - Document                 0.25        $325.00         $81.25
             Review/Data Analysis/Verification Work / Tim Ross


Service      Texas Permanent Injunction - 11/04/2021 - Document                 2.50         $85.00        $212.50
             Review/Data Analysis/Verification Work / Taran Dugal


Service      Texas Permanent Injunction - 11/04/2021 - Document                 2.00         $85.00        $170.00
             Review/Data Analysis/Verification Work / Taran Dugal


Service      Texas Permanent Injunction - 11/04/2021 - Document                 1.00        $250.00        $250.00
             Review/Data Analysis/Verification Work / Samantha Loewen




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Service      Texas Permanent Injunction - 11/05/2021 - Monitoring               0.25         $175.00         $43.75
             Administration, Document Control, Research, Analysis
             (Administrator Only) / Maria Lundgren


Service      Texas Permanent Injunction - 11/05/2021 - Communication or         1.75         $395.00        $691.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/05/2021 - Communication or         1.25         $395.00        $493.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/05/2021 - Communication or         0.25         $425.00        $106.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/05/2021 - Report and               3.75         $425.00      $1,593.75
             Document Preparation / Kevin Ryan


Service      Texas Permanent Injunction - 11/05/2021 - Communication or         1.75         $325.00        $568.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Melea Weber


Service      Texas Permanent Injunction - 11/05/2021 - Document                 3.25         $395.00      $1,283.75
             Review/Data Analysis/Verification Work / Jody Drebes


Service      Texas Permanent Injunction - 11/05/2021 - Document                 3.50         $395.00      $1,382.50
             Review/Data Analysis/Verification Work / Megan Annitto


Service      Texas Permanent Injunction - 11/05/2021 - Project                  0.50         $395.00        $197.50
             Management & Planning / Lisa Taylor


Service      Texas Permanent Injunction - 11/05/2021 -                          0.25         $395.00         $98.75
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information /
             Megan Annitto


Service      Texas Permanent Injunction - 11/05/2021 - Document                 7.00         $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Claudia Tahan


Service      Texas Permanent Injunction - 11/05/2021 - Communication or         1.00         $325.00        $325.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / David
             Howard


Service      Texas Permanent Injunction - 11/05/2021 - Document                 1.50         $325.00        $487.50
             Review/Data Analysis/Verification Work / Mary Graw Leary


Service      Texas Permanent Injunction - 11/05/2021 - Communication or         2.00         $395.00        $790.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/05/2021 - Document                 0.50         $395.00        $197.50
             Review/Data Analysis/Verification Work / Diane Scott


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Service      Texas Permanent Injunction - 11/05/2021 - Document                 7.00         $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Aileen Williams


Service      Texas Permanent Injunction - 11/05/2021 - Document                 0.25         $395.00         $98.75
             Review/Data Analysis/Verification Work / Eileen Crummy


Service      Texas Permanent Injunction - 11/05/2021 - Document                 5.25         $325.00      $1,706.25
             Review/Data Analysis/Verification Work / Melea Weber


Service      Texas Permanent Injunction - 11/05/2021 - Communication or         2.00         $120.00        $240.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Natalie Nunez


Service      Texas Permanent Injunction - 11/05/2021 - Document                 5.00         $120.00        $600.00
             Review/Data Analysis/Verification Work / Natalie Nunez


Service      Texas Permanent Injunction - 11/05/2021 - Document                 0.25         $325.00         $81.25
             Review/Data Analysis/Verification Work / Tim Ross


Service      Texas Permanent Injunction - 11/05/2021 - Communication or         1.25         $325.00        $406.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Tim
             Ross


Service      Texas Permanent Injunction - 11/05/2021 - Document                 0.25         $250.00         $62.50
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/05/2021 - Project                  0.50         $250.00        $125.00
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/05/2021 - Document                 4.00          $85.00        $340.00
             Review/Data Analysis/Verification Work / Taran Dugal


Service      Texas Permanent Injunction - 11/05/2021 - Document                 3.50          $85.00        $297.50
             Review/Data Analysis/Verification Work / Taran Dugal


Service      Texas Permanent Injunction - 11/05/2021 - Document                 4.50         $250.00      $1,125.00
             Review/Data Analysis/Verification Work / Samantha Loewen


Service      Texas Permanent Injunction - 11/05/2021 - Document                 1.00         $250.00        $250.00
             Review/Data Analysis/Verification Work / Samantha Loewen


Service      Texas Permanent Injunction - 11/06/2021 - Project                  1.25         $395.00        $493.75
             Management & Planning / Lisa Taylor


Service      Texas Permanent Injunction - 11/06/2021 - Report and               5.25         $425.00      $2,231.25
             Document Preparation / Kevin Ryan


Service      Texas Permanent Injunction - 11/06/2021 - Communication or         0.50         $425.00        $212.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan




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Service      Texas Permanent Injunction - 11/06/2021 - Document                 2.00         $325.00        $650.00
             Review/Data Analysis/Verification Work / David Howard


Service      Texas Permanent Injunction - 11/06/2021 - Document                 5.25         $325.00      $1,706.25
             Review/Data Analysis/Verification Work / Mary Graw Leary


Service      Texas Permanent Injunction - 11/06/2021 - Document                 2.75         $395.00      $1,086.25
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/07/2021 - Document                 1.00         $395.00        $395.00
             Review/Data Analysis/Verification Work / Lisa Taylor


Service      Texas Permanent Injunction - 11/07/2021 - Report and               3.50         $425.00      $1,487.50
             Document Preparation / Kevin Ryan


Service      Texas Permanent Injunction - 11/07/2021 - Communication or         0.50         $425.00        $212.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/07/2021 - Document                 0.75         $325.00        $243.75
             Review/Data Analysis/Verification Work / David Howard


Service      Texas Permanent Injunction - 11/07/2021 - Document                 1.25         $325.00        $406.25
             Review/Data Analysis/Verification Work / Mary Graw Leary


Service      Texas Permanent Injunction - 11/07/2021 - Document                 4.50         $395.00      $1,777.50
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/07/2021 - Document                 1.00         $395.00        $395.00
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/07/2021 - Document                 1.25         $395.00        $493.75
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/07/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/07/2021 - Document                 1.00         $425.00        $425.00
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/08/2021 - Monitoring               0.25         $175.00         $43.75
             Administration, Document Control, Research, Analysis
             (Administrator Only) / Maria Lundgren


Service      Texas Permanent Injunction - 11/08/2021 -                          0.25         $395.00         $98.75
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information / Lisa
             Taylor


Service      Texas Permanent Injunction - 11/08/2021 - Document                 3.00         $395.00      $1,185.00
             Review/Data Analysis/Verification Work / Charmaine Thomas



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Service      Texas Permanent Injunction - 11/08/2021 - Communication or        0.25          $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/08/2021 - Project                 0.25          $395.00         $98.75
             Management & Planning / Charmaine Thomas


Service      Texas Permanent Injunction - 11/08/2021 - Document                0.50          $425.00        $212.50
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/08/2021 - Report and              4.00          $395.00      $1,580.00
             Document Preparation / Eileen Crummy


Service      Texas Permanent Injunction - 11/08/2021 - Communication or        0.25          $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charlene Womack


Service      Texas Permanent Injunction - 11/08/2021 - Document                6.75          $395.00      $2,666.25
             Review/Data Analysis/Verification Work / Charlene Womack


Service      Texas Permanent Injunction - 11/08/2021 - Document                5.50          $395.00      $2,172.50
             Review/Data Analysis/Verification Work / Claudia Tahan


Service      Texas Permanent Injunction - 11/08/2021 - Report and              1.00          $395.00        $395.00
             Document Preparation / Eileen Crummy


Service      Texas Permanent Injunction - 11/08/2021 - Report and              2.25          $425.00        $956.25
             Document Preparation / Kevin Ryan


Service      Texas Permanent Injunction - 11/08/2021 - Project                 0.25          $395.00         $98.75
             Management & Planning / Lisa Taylor


Service      Texas Permanent Injunction - 11/08/2021 - Document                7.00          $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Robin Coleman


Service      Texas Permanent Injunction - 11/08/2021 - Document                4.50          $395.00      $1,777.50
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/08/2021 - Communication or        1.50          $395.00        $592.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/08/2021 - Communication or        0.50          $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/08/2021 -                         0.25          $395.00         $98.75
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information /
             Megan Annitto




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Service      Texas Permanent Injunction - 11/08/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/08/2021 - Document                 3.25         $395.00      $1,283.75
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/08/2021 - Document                 2.00         $395.00        $790.00
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/08/2021 - Document                 0.25         $325.00         $81.25
             Review/Data Analysis/Verification Work / David Howard


Service      Texas Permanent Injunction - 11/08/2021 - Document                 6.00         $325.00      $1,950.00
             Review/Data Analysis/Verification Work / Melea Weber


Service      Texas Permanent Injunction - 11/08/2021 - Communication or         1.00         $325.00        $325.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Melea Weber


Service      Texas Permanent Injunction - 11/08/2021 -                          0.50         $425.00        $212.50
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information /
             Kevin Ryan


Service      Texas Permanent Injunction - 11/08/2021 - Communication or         1.50         $120.00        $180.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Natalie Nunez


Service      Texas Permanent Injunction - 11/08/2021 - Document                 5.50         $120.00        $660.00
             Review/Data Analysis/Verification Work / Natalie Nunez


Service      Texas Permanent Injunction - 11/08/2021 - Document                 1.50         $325.00        $487.50
             Review/Data Analysis/Verification Work / Mary Graw Leary


Service      Texas Permanent Injunction - 11/08/2021 - Document                 3.50         $395.00      $1,382.50
             Review/Data Analysis/Verification Work / Megan Annitto


Service      Texas Permanent Injunction - 11/08/2021 - Project                  1.00         $395.00        $395.00
             Management & Planning / Megan Annitto


Service      Texas Permanent Injunction - 11/08/2021 - Communication or         0.75         $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/08/2021 - Document                 1.00         $325.00        $325.00
             Review/Data Analysis/Verification Work / Tim Ross


Service      Texas Permanent Injunction - 11/08/2021 - Document                 4.00          $85.00        $340.00
             Review/Data Analysis/Verification Work / Taran Dugal




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Service      Texas Permanent Injunction - 11/08/2021 - Project                  0.25         $250.00         $62.50
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/08/2021 - Project                  0.50         $250.00        $125.00
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/08/2021 - Document                 0.75         $250.00        $187.50
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/08/2021 - Project                  0.75         $250.00        $187.50
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/08/2021 - Document                 1.75         $250.00        $437.50
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/08/2021 - Document                 1.50         $250.00        $375.00
             Review/Data Analysis/Verification Work / Samantha Loewen


Service      Texas Permanent Injunction - 11/08/2021 - Document                 1.25         $250.00        $312.50
             Review/Data Analysis/Verification Work / Samantha Loewen


Service      Texas Permanent Injunction - 11/09/2021 - Monitoring               0.25         $175.00         $43.75
             Administration, Document Control, Research, Analysis
             (Administrator Only) / Maria Lundgren


Service      Texas Permanent Injunction - 11/09/2021 -                          0.25         $395.00         $98.75
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information / Lisa
             Taylor


Service      Texas Permanent Injunction - 11/09/2021 - Project                  0.50         $395.00        $197.50
             Management & Planning / Lisa Taylor


Service      Texas Permanent Injunction - 11/09/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Robin
             Coleman


Service      Texas Permanent Injunction - 11/09/2021 - Communication or         0.25         $425.00        $106.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/09/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/09/2021 - Document                 5.00         $395.00      $1,975.00
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/09/2021 - Document                 0.50         $395.00        $197.50
             Review/Data Analysis/Verification Work / Charmaine Thomas




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Service      Texas Permanent Injunction - 11/09/2021 - Communication or         1.00        $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Claudia Tahan


Service      Texas Permanent Injunction - 11/09/2021 - Document                 5.00        $395.00      $1,975.00
             Review/Data Analysis/Verification Work / Claudia Tahan


Service      Texas Permanent Injunction - 11/09/2021 - Report and               4.50        $395.00      $1,777.50
             Document Preparation / Eileen Crummy


Service      Texas Permanent Injunction - 11/09/2021 - Document                 0.25        $395.00         $98.75
             Review/Data Analysis/Verification Work / Eileen Crummy


Service      Texas Permanent Injunction - 11/09/2021 - Communication or         0.50        $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Robin
             Coleman


Service      Texas Permanent Injunction - 11/09/2021 - Document                 5.50        $395.00      $2,172.50
             Review/Data Analysis/Verification Work / Robin Coleman


Service      Texas Permanent Injunction - 11/09/2021 - Document                 0.50        $425.00        $212.50
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/09/2021 - Communication or         0.50        $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/09/2021 - Communication or         0.75        $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/09/2021 - Communication or         0.50        $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/09/2021 - Communication or         0.50        $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/09/2021 - Communication or         0.50        $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/09/2021 -                          0.25        $395.00         $98.75
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information /
             Megan Annitto


Service      Texas Permanent Injunction - 11/09/2021 - Document                 4.50        $395.00      $1,777.50
             Review/Data Analysis/Verification Work / Megan Annitto




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Service      Texas Permanent Injunction - 11/09/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Aileen Williams


Service      Texas Permanent Injunction - 11/09/2021 - Document                 6.00         $395.00      $2,370.00
             Review/Data Analysis/Verification Work / Aileen Williams


Service      Texas Permanent Injunction - 11/09/2021 - Document                 6.25         $395.00      $2,468.75
             Review/Data Analysis/Verification Work / Jody Drebes


Service      Texas Permanent Injunction - 11/09/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
             Drebes


Service      Texas Permanent Injunction - 11/09/2021 - Report and               2.25         $425.00        $956.25
             Document Preparation / Kevin Ryan


Service      Texas Permanent Injunction - 11/09/2021 - Project                  0.50         $395.00        $197.50
             Management & Planning / Diane Scott


Service      Texas Permanent Injunction - 11/09/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/09/2021 - Document                 0.50         $395.00        $197.50
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/09/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/09/2021 - Document                 1.25         $395.00        $493.75
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/09/2021 - Communication or         1.00         $325.00        $325.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / David
             Howard


Service      Texas Permanent Injunction - 11/09/2021 - Document                 0.25         $325.00         $81.25
             Review/Data Analysis/Verification Work / David Howard


Service      Texas Permanent Injunction - 11/09/2021 - Communication or         0.50         $325.00        $162.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Melea Weber


Service      Texas Permanent Injunction - 11/09/2021 - Document                 6.50         $325.00      $2,112.50
             Review/Data Analysis/Verification Work / Melea Weber


Service      Texas Permanent Injunction - 11/09/2021 - Document                 8.00         $395.00      $3,160.00
             Review/Data Analysis/Verification Work / Nadia Sexton




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Service      Texas Permanent Injunction - 11/09/2021 - Communication or        1.00          $120.00        $120.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Natalie Nunez


Service      Texas Permanent Injunction - 11/09/2021 - Document                6.50          $120.00        $780.00
             Review/Data Analysis/Verification Work / Natalie Nunez


Service      Texas Permanent Injunction - 11/09/2021 - Document                1.00          $325.00        $325.00
             Review/Data Analysis/Verification Work / Mary Graw Leary


Service      Texas Permanent Injunction - 11/09/2021 - Document                0.50          $325.00        $162.50
             Review/Data Analysis/Verification Work / Tim Ross


Service      Texas Permanent Injunction - 11/09/2021 - Project                 1.00          $325.00        $325.00
             Management & Planning / Tim Ross


Service      Texas Permanent Injunction - 11/09/2021 - Communication or        0.50          $325.00        $162.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Tim
             Ross


Service      Texas Permanent Injunction - 11/09/2021 - Communication or        1.50          $325.00        $487.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Tim
             Ross


Service      Texas Permanent Injunction - 11/09/2021 - Document                0.25          $325.00         $81.25
             Review/Data Analysis/Verification Work / Tim Ross


Service      Texas Permanent Injunction - 11/09/2021 - Project                 1.00          $250.00        $250.00
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/09/2021 - Project                 0.25          $250.00         $62.50
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/09/2021 - Document                2.25          $250.00        $562.50
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/09/2021 - Project                 0.50          $250.00        $125.00
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/09/2021 - Document                0.25          $250.00         $62.50
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/09/2021 - Document                2.50          $250.00        $625.00
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/09/2021 - Project                 0.50          $250.00        $125.00
             Management & Planning / Samantha Loewen


Service      Texas Permanent Injunction - 11/09/2021 - Project                 1.00          $250.00        $250.00
             Management & Planning / Samantha Loewen




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Service      Texas Permanent Injunction - 11/09/2021 - Communication or         1.00         $250.00        $250.00
             Meeting with the Court, a party, Monitor/Monitors' Staff /
             Samantha Loewen


Service      Texas Permanent Injunction - 11/10/2021 - Report and               6.75         $395.00      $2,666.25
             Document Preparation / Lisa Taylor


Service      Texas Permanent Injunction - 11/10/2021 - Project                  1.50         $425.00        $637.50
             Management & Planning / Kevin Ryan


Service      Texas Permanent Injunction - 11/10/2021 - Communication or         1.00         $425.00        $425.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/10/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/10/2021 - Monitoring               0.25         $175.00         $43.75
             Administration, Document Control, Research, Analysis
             (Administrator Only) / Maria Lundgren


Service      Texas Permanent Injunction - 11/10/2021 - Document                 0.75         $395.00        $296.25
             Review/Data Analysis/Verification Work / Eileen Crummy


Service      Texas Permanent Injunction - 11/10/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/10/2021 - Document                 1.50         $395.00        $592.50
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/10/2021 - Project                  0.50         $395.00        $197.50
             Management & Planning / Lisa Taylor


Service      Texas Permanent Injunction - 11/10/2021 - Communication or         0.75         $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/10/2021 - Document                 1.00         $395.00        $395.00
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/10/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/10/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/10/2021 - Communication or         0.75         $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


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Service      Texas Permanent Injunction - 11/10/2021 - Communication or       2.00          $395.00        $790.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/10/2021 - Document               2.50          $395.00        $987.50
             Review/Data Analysis/Verification Work / Megan Annitto


Service      Texas Permanent Injunction - 11/10/2021 - Document               6.00          $395.00      $2,370.00
             Review/Data Analysis/Verification Work / Claudia Tahan


Service      Texas Permanent Injunction - 11/10/2021 - Communication or       1.00          $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Claudia Tahan


Service      Texas Permanent Injunction - 11/10/2021 - Document               0.50          $425.00        $212.50
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/10/2021 -                        0.25          $425.00        $106.25
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information /
             Kevin Ryan


Service      Texas Permanent Injunction - 11/10/2021 - Communication or       1.00          $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charlene Womack


Service      Texas Permanent Injunction - 11/10/2021 - Document               6.00          $395.00      $2,370.00
             Review/Data Analysis/Verification Work / Charlene Womack


Service      Texas Permanent Injunction - 11/10/2021 - Communication or       1.00          $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Aileen Williams


Service      Texas Permanent Injunction - 11/10/2021 - Communication or       0.75          $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Aileen Williams


Service      Texas Permanent Injunction - 11/10/2021 - Document               5.25          $395.00      $2,073.75
             Review/Data Analysis/Verification Work / Aileen Williams


Service      Texas Permanent Injunction - 11/10/2021 -                        0.50          $395.00        $197.50
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information /
             Megan Annitto


Service      Texas Permanent Injunction - 11/10/2021 - Document               7.00          $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Robin Coleman


Service      Texas Permanent Injunction - 11/10/2021 - Communication or       1.50          $395.00        $592.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Cheryl MacDougall




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Service      Texas Permanent Injunction - 11/10/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Cheryl MacDougall


Service      Texas Permanent Injunction - 11/10/2021 - Document                 1.75         $395.00        $691.25
             Review/Data Analysis/Verification Work / Cheryl MacDougall


Service      Texas Permanent Injunction - 11/10/2021 - Document                 2.75         $395.00      $1,086.25
             Review/Data Analysis/Verification Work / Cheryl MacDougall


Service      Texas Permanent Injunction - 11/10/2021 - Document                 6.75         $395.00      $2,666.25
             Review/Data Analysis/Verification Work / Jody Drebes


Service      Texas Permanent Injunction - 11/10/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
             Drebes


Service      Texas Permanent Injunction - 11/10/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
             Drebes


Service      Texas Permanent Injunction - 11/10/2021 - Document                 2.50         $395.00        $987.50
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/10/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/10/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/10/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/10/2021 - Document                 4.50         $395.00      $1,777.50
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/10/2021 - Communication or         1.00         $325.00        $325.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Melea Weber


Service      Texas Permanent Injunction - 11/10/2021 - Communication or         1.00         $325.00        $325.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Melea Weber


Service      Texas Permanent Injunction - 11/10/2021 - Document                 5.00         $325.00      $1,625.00
             Review/Data Analysis/Verification Work / Melea Weber


Service      Texas Permanent Injunction - 11/10/2021 - Communication or         0.75         $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Nadia
             Sexton


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Service      Texas Permanent Injunction - 11/10/2021 - Communication or         1.50         $395.00        $592.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Nadia
             Sexton


Service      Texas Permanent Injunction - 11/10/2021 - Document                 7.00         $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Nadia Sexton


Service      Texas Permanent Injunction - 11/10/2021 - Communication or         1.25         $120.00        $150.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Natalie Nunez


Service      Texas Permanent Injunction - 11/10/2021 - Document                 5.75         $120.00        $690.00
             Review/Data Analysis/Verification Work / Natalie Nunez


Service      Texas Permanent Injunction - 11/10/2021 - Document                 0.50         $425.00        $212.50
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/10/2021 - Communication or         0.50         $325.00        $162.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Tim
             Ross


Service      Texas Permanent Injunction - 11/10/2021 - Document                 2.00          $85.00        $170.00
             Review/Data Analysis/Verification Work / Taran Dugal


Service      Texas Permanent Injunction - 11/10/2021 - Project                  0.25         $250.00         $62.50
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/10/2021 - Project                  0.50         $250.00        $125.00
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/11/2021 - Communication or         2.00         $395.00        $790.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/11/2021 - Project                  0.75         $395.00        $296.25
             Management & Planning / Lisa Taylor


Service      Texas Permanent Injunction - 11/11/2021 - Report and               4.50         $395.00      $1,777.50
             Document Preparation / Lisa Taylor


Service      Texas Permanent Injunction - 11/11/2021 - Document                 3.00         $395.00      $1,185.00
             Review/Data Analysis/Verification Work / Megan Annitto


Service      Texas Permanent Injunction - 11/11/2021 - Project                  0.75         $395.00        $296.25
             Management & Planning / Megan Annitto


Service      Texas Permanent Injunction - 11/11/2021 - Document                 7.00         $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Robin Coleman


Service      Texas Permanent Injunction - 11/11/2021 - Document                 0.50         $395.00        $197.50
             Review/Data Analysis/Verification Work / Eileen Crummy




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Service      Texas Permanent Injunction - 11/11/2021 -                          0.50         $395.00        $197.50
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information /
             Megan Annitto


Service      Texas Permanent Injunction - 11/11/2021 - Document                 7.00         $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Claudia Tahan


Service      Texas Permanent Injunction - 11/11/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/11/2021 - Document                 0.50         $395.00        $197.50
             Review/Data Analysis/Verification Work / Eileen Crummy


Service      Texas Permanent Injunction - 11/11/2021 -                          0.25         $395.00         $98.75
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information / Lisa
             Taylor


Service      Texas Permanent Injunction - 11/11/2021 - Communication or         1.75         $395.00        $691.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Cheryl MacDougall


Service      Texas Permanent Injunction - 11/11/2021 - Document                 5.25         $395.00      $2,073.75
             Review/Data Analysis/Verification Work / Cheryl MacDougall


Service      Texas Permanent Injunction - 11/11/2021 - Document                 7.75         $395.00      $3,061.25
             Review/Data Analysis/Verification Work / Jody Drebes


Service      Texas Permanent Injunction - 11/11/2021 - Document                 7.00         $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Aileen Williams


Service      Texas Permanent Injunction - 11/11/2021 - Document                 4.75         $425.00      $2,018.75
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/11/2021 - Document                 7.00         $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Charlene Womack


Service      Texas Permanent Injunction - 11/11/2021 - Document                 3.50         $395.00      $1,382.50
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/11/2021 -                          1.25         $395.00        $493.75
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information /
             Diane Scott


Service      Texas Permanent Injunction - 11/11/2021 -                          0.50         $395.00        $197.50
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information /
             Diane Scott




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Service      Texas Permanent Injunction - 11/11/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/11/2021 - Document                 7.00         $325.00      $2,275.00
             Review/Data Analysis/Verification Work / Melea Weber


Service      Texas Permanent Injunction - 11/11/2021 - Communication or         1.50         $395.00        $592.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Nadia
             Sexton


Service      Texas Permanent Injunction - 11/11/2021 - Document                 6.00         $395.00      $2,370.00
             Review/Data Analysis/Verification Work / Nadia Sexton


Service      Texas Permanent Injunction - 11/11/2021 - Document                 7.00         $120.00        $840.00
             Review/Data Analysis/Verification Work / Natalie Nunez


Service      Texas Permanent Injunction - 11/11/2021 - Document                 0.50         $325.00        $162.50
             Review/Data Analysis/Verification Work / Tim Ross


Service      Texas Permanent Injunction - 11/11/2021 - Project                  0.25         $250.00         $62.50
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/11/2021 - Project                  0.25         $250.00         $62.50
             Management & Planning / Samantha Loewen


Service      Texas Permanent Injunction - 11/12/2021 - Project                  0.25         $395.00         $98.75
             Management & Planning / Lisa Taylor


Service      Texas Permanent Injunction - 11/12/2021 - Document                 4.25         $395.00      $1,678.75
             Review/Data Analysis/Verification Work / Megan Annitto


Service      Texas Permanent Injunction - 11/12/2021 - Report and               1.25         $395.00        $493.75
             Document Preparation / Lisa Taylor


Service      Texas Permanent Injunction - 11/12/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/12/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/12/2021 -                          0.75         $395.00        $296.25
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information /
             Megan Annitto


Service      Texas Permanent Injunction - 11/12/2021 - Project                  1.00         $395.00        $395.00
             Management & Planning / Megan Annitto




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Service      Texas Permanent Injunction - 11/12/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/12/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/12/2021 - Communication or         0.75         $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/12/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Claudia Tahan


Service      Texas Permanent Injunction - 11/12/2021 - Document                 2.00         $395.00        $790.00
             Review/Data Analysis/Verification Work / Claudia Tahan


Service      Texas Permanent Injunction - 11/12/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/12/2021 - Document                 1.75         $395.00        $691.25
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/12/2021 - Document                 4.25         $395.00      $1,678.75
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/12/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Aileen Williams


Service      Texas Permanent Injunction - 11/12/2021 - Document                 6.00         $395.00      $2,370.00
             Review/Data Analysis/Verification Work / Aileen Williams


Service      Texas Permanent Injunction - 11/12/2021 - Communication or         4.00         $395.00      $1,580.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Eileen Crummy


Service      Texas Permanent Injunction - 11/12/2021 - Communication or         4.00         $425.00      $1,700.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/12/2021 - Communication or         4.00         $395.00      $1,580.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
             Taylor


Service      Texas Permanent Injunction - 11/12/2021 - Communication or         0.25         $425.00        $106.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan




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Service      Texas Permanent Injunction - 11/12/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/12/2021 - Document                 2.25         $395.00        $888.75
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/12/2021 - Document                 3.00         $395.00      $1,185.00
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/12/2021 -                          0.50         $395.00        $197.50
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information /
             Diane Scott


Service      Texas Permanent Injunction - 11/12/2021 - Report and               0.75         $425.00        $318.75
             Document Preparation / Kevin Ryan


Service      Texas Permanent Injunction - 11/12/2021 - Document                 5.00         $325.00      $1,625.00
             Review/Data Analysis/Verification Work / Melea Weber


Service      Texas Permanent Injunction - 11/12/2021 - Communication or         0.50         $325.00        $162.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Melea Weber


Service      Texas Permanent Injunction - 11/12/2021 - Document                 4.50         $120.00        $540.00
             Review/Data Analysis/Verification Work / Natalie Nunez


Service      Texas Permanent Injunction - 11/12/2021 - Document                 2.50         $250.00        $625.00
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/12/2021 - Document                 0.75         $250.00        $187.50
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/12/2021 - Project                  0.50         $250.00        $125.00
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/12/2021 - Document                 0.75          $85.00         $63.75
             Review/Data Analysis/Verification Work / Taran Dugal


Service      Texas Permanent Injunction - 11/12/2021 - Document                 1.50         $250.00        $375.00
             Review/Data Analysis/Verification Work / Samantha Loewen


Service      Texas Permanent Injunction - 11/13/2021 - Document                 0.50         $425.00        $212.50
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/13/2021 - Communication or         0.50         $425.00        $212.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan




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Service      Texas Permanent Injunction - 11/13/2021 - Communication or         3.00         $425.00      $1,275.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/13/2021 - Communication or         3.00         $395.00      $1,185.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Eileen Crummy


Service      Texas Permanent Injunction - 11/13/2021 - Communication or         3.00         $395.00      $1,185.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
             Taylor


Service      Texas Permanent Injunction - 11/13/2021 - Communication or         1.75         $395.00        $691.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Eileen Crummy


Service      Texas Permanent Injunction - 11/13/2021 - Communication or         1.75         $395.00        $691.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
             Taylor


Service      Texas Permanent Injunction - 11/13/2021 - Communication or         1.75         $425.00        $743.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/13/2021 - Document                 0.75         $395.00        $296.25
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/13/2021 - Document                 1.00         $395.00        $395.00
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/13/2021 - Document                 1.00         $395.00        $395.00
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/13/2021 - Document                 2.50         $395.00        $987.50
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/13/2021 - Document                 1.00          $85.00         $85.00
             Review/Data Analysis/Verification Work / Zsa Zsa Toms


Service      Texas Permanent Injunction - 11/14/2021 - Communication or         2.00         $425.00        $850.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/14/2021 - Communication or         2.00         $395.00        $790.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Eileen Crummy


Service      Texas Permanent Injunction - 11/14/2021 - Communication or         1.75         $395.00        $691.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Eileen Crummy




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Service      Texas Permanent Injunction - 11/14/2021 - Communication or         2.00         $395.00        $790.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
             Taylor


Service      Texas Permanent Injunction - 11/14/2021 - Communication or         1.75         $395.00        $691.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
             Taylor


Service      Texas Permanent Injunction - 11/14/2021 - Communication or         1.75         $425.00        $743.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/14/2021 - Document                 6.50         $395.00      $2,567.50
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/14/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/14/2021 - Document                 5.00         $325.00      $1,625.00
             Review/Data Analysis/Verification Work / Mary Graw Leary


Service      Texas Permanent Injunction - 11/15/2021 -                          0.50         $395.00        $197.50
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information /
             Megan Annitto


Service      Texas Permanent Injunction - 11/15/2021 - Document                 1.00         $395.00        $395.00
             Review/Data Analysis/Verification Work / Megan Annitto


Service      Texas Permanent Injunction - 11/15/2021 - Project                  0.75         $395.00        $296.25
             Management & Planning / Megan Annitto


Service      Texas Permanent Injunction - 11/15/2021 - Document                 7.00         $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Robin Coleman


Service      Texas Permanent Injunction - 11/15/2021 - Communication or         1.50         $325.00        $487.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Melea Weber


Service      Texas Permanent Injunction - 11/15/2021 - Document                 5.50         $325.00      $1,787.50
             Review/Data Analysis/Verification Work / Melea Weber


Service      Texas Permanent Injunction - 11/15/2021 - Report and               4.75         $395.00      $1,876.25
             Document Preparation / Lisa Taylor


Service      Texas Permanent Injunction - 11/15/2021 - Document                 3.75         $395.00      $1,481.25
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/15/2021 - Communication or         0.75         $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas



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Service      Texas Permanent Injunction - 11/15/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/15/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/15/2021 - Monitoring               0.25         $175.00         $43.75
             Administration, Document Control, Research, Analysis
             (Administrator Only) / Maria Lundgren


Service      Texas Permanent Injunction - 11/15/2021 - Communication or         3.00         $395.00      $1,185.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
             Taylor


Service      Texas Permanent Injunction - 11/15/2021 - Communication or         3.00         $425.00      $1,275.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/15/2021 - Communication or         3.00         $395.00      $1,185.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Eileen Crummy


Service      Texas Permanent Injunction - 11/15/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/15/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/15/2021 - Document                 2.00         $395.00        $790.00
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/15/2021 - Document                 5.00         $395.00      $1,975.00
             Review/Data Analysis/Verification Work / Claudia Tahan


Service      Texas Permanent Injunction - 11/15/2021 - Document                 1.00         $395.00        $395.00
             Review/Data Analysis/Verification Work / Claudia Tahan


Service      Texas Permanent Injunction - 11/15/2021 - Project                  0.75         $425.00        $318.75
             Management & Planning / Kevin Ryan


Service      Texas Permanent Injunction - 11/15/2021 - Communication or         1.50         $395.00        $592.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/15/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto




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Service      Texas Permanent Injunction - 11/15/2021 - Document                 2.00         $395.00        $790.00
             Review/Data Analysis/Verification Work / Megan Annitto


Service      Texas Permanent Injunction - 11/15/2021 - Report and               1.00         $395.00        $395.00
             Document Preparation / Megan Annitto


Service      Texas Permanent Injunction - 11/15/2021 - Document                 4.00         $395.00      $1,580.00
             Review/Data Analysis/Verification Work / Charlene Womack


Service      Texas Permanent Injunction - 11/15/2021 - Document                 2.50         $395.00        $987.50
             Review/Data Analysis/Verification Work / Charlene Womack


Service      Texas Permanent Injunction - 11/15/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charlene Womack


Service      Texas Permanent Injunction - 11/15/2021 - Communication or         0.75         $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/15/2021 - Communication or         1.50         $395.00        $592.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/15/2021 - Document                 1.75         $395.00        $691.25
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/15/2021 - Document                 0.50         $395.00        $197.50
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/15/2021 - Report and               0.75         $395.00        $296.25
             Document Preparation / Diane Scott


Service      Texas Permanent Injunction - 11/15/2021 - Project                  1.25         $395.00        $493.75
             Management & Planning / Diane Scott


Service      Texas Permanent Injunction - 11/15/2021 - Document                 5.75         $395.00      $2,271.25
             Review/Data Analysis/Verification Work / Jody Drebes


Service      Texas Permanent Injunction - 11/15/2021 - Communication or         0.75         $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
             Drebes


Service      Texas Permanent Injunction - 11/15/2021 - Document                 1.25         $325.00        $406.25
             Review/Data Analysis/Verification Work / Mary Graw Leary


Service      Texas Permanent Injunction - 11/15/2021 - Communication or         1.50         $395.00        $592.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/15/2021 - Report and               2.00         $425.00        $850.00
             Document Preparation / Kevin Ryan



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Service      Texas Permanent Injunction - 11/15/2021 - Document                 1.25         $325.00        $406.25
             Review/Data Analysis/Verification Work / Tim Ross


Service      Texas Permanent Injunction - 11/15/2021 - Project                  0.25         $250.00         $62.50
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/15/2021 - Document                 1.50         $250.00        $375.00
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/15/2021 - Project                  0.25         $250.00         $62.50
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/15/2021 - Document                 1.00         $250.00        $250.00
             Review/Data Analysis/Verification Work / Samantha Loewen


Service      Texas Permanent Injunction - 11/16/2021 - Project                  1.50         $395.00        $592.50
             Management & Planning / Lisa Taylor


Service      Texas Permanent Injunction - 11/16/2021 - Monitoring               3.00         $175.00        $525.00
             Administration, Document Control, Research, Analysis
             (Administrator Only) / Maria Lundgren


Service      Texas Permanent Injunction - 11/16/2021 - Project                  1.00         $395.00        $395.00
             Management & Planning / Megan Annitto


Service      Texas Permanent Injunction - 11/16/2021 -                          0.50         $395.00        $197.50
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information /
             Megan Annitto


Service      Texas Permanent Injunction - 11/16/2021 - Document                 3.50         $395.00      $1,382.50
             Review/Data Analysis/Verification Work / Megan Annitto


Service      Texas Permanent Injunction - 11/16/2021 -                          0.25         $395.00         $98.75
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information / Lisa
             Taylor


Service      Texas Permanent Injunction - 11/16/2021 - Document                 1.00         $395.00        $395.00
             Review/Data Analysis/Verification Work / Claudia Tahan


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         1.25         $395.00        $493.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Claudia Tahan


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         0.75         $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto



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Service      Texas Permanent Injunction - 11/16/2021 - Document                 5.75         $395.00      $2,271.25
             Review/Data Analysis/Verification Work / Robin Coleman


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         1.25         $395.00        $493.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Robin
             Coleman


Service      Texas Permanent Injunction - 11/16/2021 - Document                 3.50         $395.00      $1,382.50
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         1.25         $395.00        $493.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/16/2021 - Project                  0.75         $395.00        $296.25
             Management & Planning / Charmaine Thomas


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/16/2021 - Document                 5.75         $395.00      $2,271.25
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/16/2021 - Report and               2.75         $425.00      $1,168.75
             Document Preparation / Kevin Ryan


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         0.25         $425.00        $106.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         0.25         $425.00        $106.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan




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Service      Texas Permanent Injunction - 11/16/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/16/2021 - Document                 4.75         $395.00      $1,876.25
             Review/Data Analysis/Verification Work / Claudia Tahan


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         1.25         $395.00        $493.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charlene Womack


Service      Texas Permanent Injunction - 11/16/2021 - Document                 5.75         $395.00      $2,271.25
             Review/Data Analysis/Verification Work / Charlene Womack


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         1.25         $395.00        $493.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Aileen Williams


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Aileen Williams


Service      Texas Permanent Injunction - 11/16/2021 - Document                 4.75         $395.00      $1,876.25
             Review/Data Analysis/Verification Work / Aileen Williams


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         1.25         $395.00        $493.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
             Drebes


Service      Texas Permanent Injunction - 11/16/2021 - Document                 8.50         $395.00      $3,357.50
             Review/Data Analysis/Verification Work / Jody Drebes


Service      Texas Permanent Injunction - 11/16/2021 - Document                 0.25         $395.00         $98.75
             Review/Data Analysis/Verification Work / Eileen Crummy


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         1.00         $325.00        $325.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / David
             Howard


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         1.00         $325.00        $325.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Mary
             Graw Leary


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         0.25         $325.00         $81.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Mary
             Graw Leary


Service      Texas Permanent Injunction - 11/16/2021 - Communication or         0.75         $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Cheryl MacDougall


Service      Texas Permanent Injunction - 11/16/2021 - Document                 0.50         $395.00        $197.50
             Review/Data Analysis/Verification Work / Cheryl MacDougall


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Service      Texas Permanent Injunction - 11/16/2021 - Document                5.75          $395.00      $2,271.25
             Review/Data Analysis/Verification Work / Cheryl MacDougall


Service      Texas Permanent Injunction - 11/16/2021 - Document                7.00          $325.00      $2,275.00
             Review/Data Analysis/Verification Work / Melea Weber


Service      Texas Permanent Injunction - 11/16/2021 - Communication or        0.25          $325.00         $81.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Melea Weber


Service      Texas Permanent Injunction - 11/16/2021 - Project                 0.75          $325.00        $243.75
             Management & Planning / Tim Ross


Service      Texas Permanent Injunction - 11/16/2021 - Document                1.00          $325.00        $325.00
             Review/Data Analysis/Verification Work / Tim Ross


Service      Texas Permanent Injunction - 11/16/2021 - Communication or        0.50          $325.00        $162.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Tim
             Ross


Service      Texas Permanent Injunction - 11/16/2021 - Project                 1.00           $85.00         $85.00
             Management & Planning / Taran Dugal


Service      Texas Permanent Injunction - 11/16/2021 - Communication or        1.00          $325.00        $325.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Tim
             Ross


Service      Texas Permanent Injunction - 11/16/2021 - Document                1.00           $85.00         $85.00
             Review/Data Analysis/Verification Work / Zsa Zsa Toms


Service      Texas Permanent Injunction - 11/16/2021 - Document                0.50           $85.00         $42.50
             Review/Data Analysis/Verification Work / Zsa Zsa Toms


Service      Texas Permanent Injunction - 11/16/2021 - Project                 1.00          $250.00        $250.00
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/16/2021 - Project                 1.00          $250.00        $250.00
             Management & Planning / Samantha Loewen


Service      Texas Permanent Injunction - 11/16/2021 - Document                3.50          $250.00        $875.00
             Review/Data Analysis/Verification Work / Samantha Loewen


Service      Texas Permanent Injunction - 11/16/2021 - Communication or        1.00          $250.00        $250.00
             Meeting with the Court, a party, Monitor/Monitors' Staff /
             Samantha Loewen


Service      Texas Permanent Injunction - 11/17/2021 - Communication or        1.50          $395.00        $592.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto




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Service      Texas Permanent Injunction - 11/17/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/17/2021 - Document                 3.00         $395.00      $1,185.00
             Review/Data Analysis/Verification Work / Megan Annitto


Service      Texas Permanent Injunction - 11/17/2021 - Document                 6.00         $395.00      $2,370.00
             Review/Data Analysis/Verification Work / Robin Coleman


Service      Texas Permanent Injunction - 11/17/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Robin
             Coleman


Service      Texas Permanent Injunction - 11/17/2021 - Communication or         1.25         $395.00        $493.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/17/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/17/2021 - Document                 4.00         $395.00      $1,580.00
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/17/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Claudia Tahan


Service      Texas Permanent Injunction - 11/17/2021 - Document                 5.50         $395.00      $2,172.50
             Review/Data Analysis/Verification Work / Claudia Tahan


Service      Texas Permanent Injunction - 11/17/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charlene Womack


Service      Texas Permanent Injunction - 11/17/2021 - Document                 2.50         $395.00        $987.50
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/17/2021 - Document                 5.25         $425.00      $2,231.25
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/17/2021 - Communication or         0.25         $425.00        $106.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/17/2021 - Communication or         0.50         $425.00        $212.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/17/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Aileen Williams


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Service      Texas Permanent Injunction - 11/17/2021 - Document                 6.00         $395.00      $2,370.00
             Review/Data Analysis/Verification Work / Aileen Williams


Service      Texas Permanent Injunction - 11/17/2021 - Document                 2.75         $395.00      $1,086.25
             Review/Data Analysis/Verification Work / Jody Drebes


Service      Texas Permanent Injunction - 11/17/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
             Drebes


Service      Texas Permanent Injunction - 11/17/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/17/2021 - Project                  0.25         $395.00         $98.75
             Management & Planning / Diane Scott


Service      Texas Permanent Injunction - 11/17/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/17/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/17/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/17/2021 - Document                 2.50         $395.00        $987.50
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/17/2021 - Document                 6.00         $395.00      $2,370.00
             Review/Data Analysis/Verification Work / Charlene Womack


Service      Texas Permanent Injunction - 11/17/2021 - Document                 1.00         $395.00        $395.00
             Review/Data Analysis/Verification Work / Cheryl MacDougall


Service      Texas Permanent Injunction - 11/17/2021 - Document                 1.00         $395.00        $395.00
             Review/Data Analysis/Verification Work / Cheryl MacDougall


Service      Texas Permanent Injunction - 11/17/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Cheryl MacDougall


Service      Texas Permanent Injunction - 11/17/2021 - Document                 4.00         $395.00      $1,580.00
             Review/Data Analysis/Verification Work / Cheryl MacDougall


Service      Texas Permanent Injunction - 11/17/2021 - Document                 5.00         $325.00      $1,625.00
             Review/Data Analysis/Verification Work / Melea Weber




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Service      Texas Permanent Injunction - 11/17/2021 - Communication or        1.25          $325.00        $406.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Melea Weber


Service      Texas Permanent Injunction - 11/17/2021 - Communication or        1.00          $325.00        $325.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Melea Weber


Service      Texas Permanent Injunction - 11/17/2021 - Document                1.25          $325.00        $406.25
             Review/Data Analysis/Verification Work / Tim Ross


Service      Texas Permanent Injunction - 11/17/2021 - Report and              1.25          $325.00        $406.25
             Document Preparation / Tim Ross


Service      Texas Permanent Injunction - 11/17/2021 - Document                1.00          $325.00        $325.00
             Review/Data Analysis/Verification Work / Tim Ross


Service      Texas Permanent Injunction - 11/17/2021 - Document                0.50           $85.00         $42.50
             Review/Data Analysis/Verification Work / Zsa Zsa Toms


Service      Texas Permanent Injunction - 11/17/2021 - Document                1.00           $85.00         $85.00
             Review/Data Analysis/Verification Work / Zsa Zsa Toms


Service      Texas Permanent Injunction - 11/17/2021 - Project                 0.25          $250.00         $62.50
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/17/2021 - Project                 1.00          $250.00        $250.00
             Management & Planning / Samantha Loewen


Service      Texas Permanent Injunction - 11/17/2021 - Project                 1.00          $250.00        $250.00
             Management & Planning / Samantha Loewen


Service      Texas Permanent Injunction - 11/17/2021 - Document                1.00          $250.00        $250.00
             Review/Data Analysis/Verification Work / Samantha Loewen


Service      Texas Permanent Injunction - 11/18/2021 - Document                0.25          $395.00         $98.75
             Review/Data Analysis/Verification Work / Eileen Crummy


Service      Texas Permanent Injunction - 11/18/2021 - Project                 0.25          $395.00         $98.75
             Management & Planning / Lisa Taylor


Service      Texas Permanent Injunction - 11/18/2021 - Project                 0.25          $395.00         $98.75
             Management & Planning / Eileen Crummy


Service      Texas Permanent Injunction - 11/18/2021 - Document                2.00          $395.00        $790.00
             Review/Data Analysis/Verification Work / Lisa Taylor


Service      Texas Permanent Injunction - 11/18/2021 - Monitoring              3.00          $175.00        $525.00
             Administration, Document Control, Research, Analysis
             (Administrator Only) / Maria Lundgren




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Service      Texas Permanent Injunction - 11/18/2021 - Document                3.75          $395.00      $1,481.25
             Review/Data Analysis/Verification Work / Jody Drebes


Service      Texas Permanent Injunction - 11/18/2021 - Communication or        0.50          $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/18/2021 - Document                5.00          $395.00      $1,975.00
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/18/2021 - Document                7.00          $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Claudia Tahan


Service      Texas Permanent Injunction - 11/18/2021 - Project                 0.50          $395.00        $197.50
             Management & Planning / Charmaine Thomas


Service      Texas Permanent Injunction - 11/18/2021 - Document                2.00          $395.00        $790.00
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/18/2021 - Communication or        0.25          $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/18/2021 - Document                7.00          $120.00        $840.00
             Review/Data Analysis/Verification Work / Natalie Nunez


Service      Texas Permanent Injunction - 11/18/2021 - Communication or        0.50          $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/18/2021 - Communication or        0.75          $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/18/2021 - Report and              4.50          $395.00      $1,777.50
             Document Preparation / Megan Annitto


Service      Texas Permanent Injunction - 11/18/2021 - Document                1.00          $395.00        $395.00
             Review/Data Analysis/Verification Work / Megan Annitto


Service      Texas Permanent Injunction - 11/18/2021 - Project                 0.25          $395.00         $98.75
             Management & Planning / Megan Annitto


Service      Texas Permanent Injunction - 11/18/2021 - Document                0.75          $425.00        $318.75
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/18/2021 - Report and              0.75          $425.00        $318.75
             Document Preparation / Kevin Ryan


Service      Texas Permanent Injunction - 11/18/2021 - Document                7.00          $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Aileen Williams




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Service      Texas Permanent Injunction - 11/18/2021 -                          0.25         $325.00         $81.25
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information /
             David Howard


Service      Texas Permanent Injunction - 11/18/2021 - Document                 1.00         $325.00        $325.00
             Review/Data Analysis/Verification Work / David Howard


Service      Texas Permanent Injunction - 11/18/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/18/2021 - Document                 3.50         $395.00      $1,382.50
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/18/2021 - Document                 1.00         $395.00        $395.00
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/18/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/18/2021 - Document                 6.75         $395.00      $2,666.25
             Review/Data Analysis/Verification Work / Charlene Womack


Service      Texas Permanent Injunction - 11/18/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charlene Womack


Service      Texas Permanent Injunction - 11/18/2021 - Document                 4.50         $325.00      $1,462.50
             Review/Data Analysis/Verification Work / Melea Weber


Service      Texas Permanent Injunction - 11/18/2021 - Communication or         0.50         $325.00        $162.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Melea Weber


Service      Texas Permanent Injunction - 11/18/2021 - Report and               2.00         $325.00        $650.00
             Document Preparation / Melea Weber


Service      Texas Permanent Injunction - 11/18/2021 - Document                 2.00          $85.00        $170.00
             Review/Data Analysis/Verification Work / Zsa Zsa Toms


Service      Texas Permanent Injunction - 11/18/2021 - Document                 2.25         $325.00        $731.25
             Review/Data Analysis/Verification Work / Tim Ross


Service      Texas Permanent Injunction - 11/18/2021 - Document                 0.25         $250.00         $62.50
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/18/2021 - Document                 1.50          $85.00        $127.50
             Review/Data Analysis/Verification Work / Taran Dugal




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Service      Texas Permanent Injunction - 11/18/2021 - Document                 1.00         $250.00        $250.00
             Review/Data Analysis/Verification Work / Samantha Loewen


Service      Texas Permanent Injunction - 11/19/2021 - Report and               3.75         $395.00      $1,481.25
             Document Preparation / Megan Annitto


Service      Texas Permanent Injunction - 11/19/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/19/2021 - Project                  0.50         $395.00        $197.50
             Management & Planning / Lisa Taylor


Service      Texas Permanent Injunction - 11/19/2021 - Document                 4.00         $395.00      $1,580.00
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/19/2021 - Document                 2.50         $395.00        $987.50
             Review/Data Analysis/Verification Work / Claudia Tahan


Service      Texas Permanent Injunction - 11/19/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/19/2021 - Document                 1.50         $395.00        $592.50
             Review/Data Analysis/Verification Work / Megan Annitto


Service      Texas Permanent Injunction - 11/19/2021 -                          0.25         $395.00         $98.75
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information /
             Megan Annitto


Service      Texas Permanent Injunction - 11/19/2021 - Document                 5.00         $120.00        $600.00
             Review/Data Analysis/Verification Work / Natalie Nunez


Service      Texas Permanent Injunction - 11/19/2021 - Communication or         1.00         $425.00        $425.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/19/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/19/2021 - Project                  0.50         $395.00        $197.50
             Management & Planning / Megan Annitto


Service      Texas Permanent Injunction - 11/19/2021 - Document                 3.00         $395.00      $1,185.00
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/19/2021 - Document                 1.00         $425.00        $425.00
             Review/Data Analysis/Verification Work / Kevin Ryan




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Service      Texas Permanent Injunction - 11/19/2021 - Document                 1.75         $425.00        $743.75
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/19/2021 - Document                 7.00         $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Aileen Williams


Service      Texas Permanent Injunction - 11/19/2021 - Document                 7.00         $325.00      $2,275.00
             Review/Data Analysis/Verification Work / Melea Weber


Service      Texas Permanent Injunction - 11/19/2021 - Document                 2.00         $425.00        $850.00
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/19/2021 - Document                 0.50         $325.00        $162.50
             Review/Data Analysis/Verification Work / Tim Ross


Service      Texas Permanent Injunction - 11/19/2021 - Project                  0.25         $250.00         $62.50
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/19/2021 - Document                 0.50         $250.00        $125.00
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/19/2021 - Document                 2.00          $85.00        $170.00
             Review/Data Analysis/Verification Work / Taran Dugal


Service      Texas Permanent Injunction - 11/20/2021 - Report and               0.75         $425.00        $318.75
             Document Preparation / Kevin Ryan


Service      Texas Permanent Injunction - 11/20/2021 - Project                  0.50         $425.00        $212.50
             Management & Planning / Kevin Ryan


Service      Texas Permanent Injunction - 11/20/2021 - Communication or         0.75         $425.00        $318.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/20/2021 - Document                 0.50         $425.00        $212.50
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/20/2021 - Report and               3.00         $425.00      $1,275.00
             Document Preparation / Kevin Ryan


Service      Texas Permanent Injunction - 11/20/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/20/2021 - Document                 2.00          $85.00        $170.00
             Review/Data Analysis/Verification Work / Zsa Zsa Toms


Service      Texas Permanent Injunction - 11/21/2021 - Document                 3.75         $425.00      $1,593.75
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/21/2021 - Document                 1.50         $395.00        $592.50
             Review/Data Analysis/Verification Work / Eileen Crummy


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Service      Texas Permanent Injunction - 11/21/2021 - Document                 1.00         $325.00        $325.00
             Review/Data Analysis/Verification Work / David Howard


Service      Texas Permanent Injunction - 11/21/2021 - Document                 6.75         $395.00      $2,666.25
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/21/2021 - Document                 1.00         $395.00        $395.00
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/21/2021 - Document                 2.00         $325.00        $650.00
             Review/Data Analysis/Verification Work / Mary Graw Leary


Service      Texas Permanent Injunction - 11/21/2021 - Document                 0.75         $325.00        $243.75
             Review/Data Analysis/Verification Work / Mary Graw Leary


Service      Texas Permanent Injunction - 11/21/2021 - Report and               2.00         $425.00        $850.00
             Document Preparation / Kevin Ryan


Service      Texas Permanent Injunction - 11/21/2021 - Document                 0.25         $325.00         $81.25
             Review/Data Analysis/Verification Work / Tim Ross


Service      Texas Permanent Injunction - 11/21/2021 - Document                 2.00          $85.00        $170.00
             Review/Data Analysis/Verification Work / Zsa Zsa Toms


Service      Texas Permanent Injunction - 11/22/2021 - Document                 5.00         $395.00      $1,975.00
             Review/Data Analysis/Verification Work / Megan Annitto


Service      Texas Permanent Injunction - 11/22/2021 - Communication or         1.75         $395.00        $691.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/22/2021 - Communication or         0.50         $425.00        $212.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/22/2021 - Document                 0.50         $395.00        $197.50
             Review/Data Analysis/Verification Work / Eileen Crummy


Service      Texas Permanent Injunction - 11/22/2021 - Project                  0.75         $395.00        $296.25
             Management & Planning / Charmaine Thomas


Service      Texas Permanent Injunction - 11/22/2021 - Document                 6.25         $395.00      $2,468.75
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/22/2021 -                          0.25         $395.00         $98.75
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges or barriers to data and information /
             Megan Annitto


Service      Texas Permanent Injunction - 11/22/2021 - Document                 7.00         $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Claudia Tahan




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Service      Texas Permanent Injunction - 11/22/2021 - Communication or         1.75         $120.00        $210.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Natalie Nunez


Service      Texas Permanent Injunction - 11/22/2021 - Communication or         0.25         $425.00        $106.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/22/2021 - Document                 7.00         $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Charlene Womack


Service      Texas Permanent Injunction - 11/22/2021 - Document                 5.25         $120.00        $630.00
             Review/Data Analysis/Verification Work / Natalie Nunez


Service      Texas Permanent Injunction - 11/22/2021 - Project                  1.25         $395.00        $493.75
             Management & Planning / Lisa Taylor


Service      Texas Permanent Injunction - 11/22/2021 - Document                 8.25         $395.00      $3,258.75
             Review/Data Analysis/Verification Work / Jody Drebes


Service      Texas Permanent Injunction - 11/22/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/22/2021 - Document                 4.75         $395.00      $1,876.25
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/22/2021 - Communication or         1.75         $325.00        $568.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Melea Weber


Service      Texas Permanent Injunction - 11/22/2021 - Document                 5.25         $325.00      $1,706.25
             Review/Data Analysis/Verification Work / Melea Weber


Service      Texas Permanent Injunction - 11/22/2021 - Report and               2.25         $425.00        $956.25
             Document Preparation / Kevin Ryan


Service      Texas Permanent Injunction - 11/22/2021 - Project                  0.75         $250.00        $187.50
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/22/2021 - Project                  0.25         $250.00         $62.50
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/22/2021 - Document                 2.00          $85.00        $170.00
             Review/Data Analysis/Verification Work / Taran Dugal


Service      Texas Permanent Injunction - 11/22/2021 - Document                 2.00          $85.00        $170.00
             Review/Data Analysis/Verification Work / Zsa Zsa Toms


Service      Texas Permanent Injunction - 11/22/2021 - Document                 1.00          $85.00         $85.00
             Review/Data Analysis/Verification Work / Zsa Zsa Toms




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Service      Texas Permanent Injunction - 11/22/2021 - Document                0.25          $325.00         $81.25
             Review/Data Analysis/Verification Work / Tim Ross


Service      Texas Permanent Injunction - 11/22/2021 - Project                 0.25          $250.00         $62.50
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/22/2021 - Document                0.50          $250.00        $125.00
             Review/Data Analysis/Verification Work / Samantha Loewen


Service      Texas Permanent Injunction - 11/22/2021 - Project                 2.00           $85.00        $170.00
             Management & Planning / Zsa Zsa Toms


Service      Texas Permanent Injunction - 11/23/2021 - Project                 0.50          $395.00        $197.50
             Management & Planning / Megan Annitto


Service      Texas Permanent Injunction - 11/23/2021 - Document                4.25          $395.00      $1,678.75
             Review/Data Analysis/Verification Work / Megan Annitto


Service      Texas Permanent Injunction - 11/23/2021 - Communication or        0.75          $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Claudia Tahan


Service      Texas Permanent Injunction - 11/23/2021 - Communication or        0.25          $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Claudia Tahan


Service      Texas Permanent Injunction - 11/23/2021 - Communication or        0.50          $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/23/2021 - Communication or        0.25          $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/23/2021 - Project                 0.25          $395.00         $98.75
             Management & Planning / Eileen Crummy


Service      Texas Permanent Injunction - 11/23/2021 - Project                 0.25          $395.00         $98.75
             Management & Planning / Lisa Taylor


Service      Texas Permanent Injunction - 11/23/2021 - Communication or        0.75          $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charlene Womack


Service      Texas Permanent Injunction - 11/23/2021 - Document                1.00          $395.00        $395.00
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/23/2021 - Communication or        0.75          $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas




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Service      Texas Permanent Injunction - 11/23/2021 - Communication or       0.25          $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/23/2021 - Communication or       0.25          $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/23/2021 - Communication or       0.50          $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/23/2021 - Document               2.00          $395.00        $790.00
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/23/2021 - Document               2.25          $395.00        $888.75
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/23/2021 - Communication or       1.50          $395.00        $592.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/23/2021 - Report and             5.00          $425.00      $2,125.00
             Document Preparation / Kevin Ryan


Service      Texas Permanent Injunction - 11/23/2021 - Communication or       0.75          $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Aileen Williams


Service      Texas Permanent Injunction - 11/23/2021 - Communication or       0.25          $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Aileen Williams


Service      Texas Permanent Injunction - 11/23/2021 - Document               6.00          $395.00      $2,370.00
             Review/Data Analysis/Verification Work / Aileen Williams


Service      Texas Permanent Injunction - 11/23/2021 - Document               2.50          $395.00        $987.50
             Review/Data Analysis/Verification Work / Cheryl MacDougall


Service      Texas Permanent Injunction - 11/23/2021 - Document               4.50          $395.00      $1,777.50
             Review/Data Analysis/Verification Work / Cheryl MacDougall


Service      Texas Permanent Injunction - 11/23/2021 - Document               6.75          $120.00        $810.00
             Review/Data Analysis/Verification Work / Natalie Nunez


Service      Texas Permanent Injunction - 11/23/2021 - Communication or       0.25          $120.00         $30.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Natalie Nunez


Service      Texas Permanent Injunction - 11/23/2021 - Document               6.00          $395.00      $2,370.00
             Review/Data Analysis/Verification Work / Claudia Tahan




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Service      Texas Permanent Injunction - 11/23/2021 - Document                 4.25         $395.00      $1,678.75
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/23/2021 - Communication or         0.75         $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/23/2021 - Document                 1.50         $325.00        $487.50
             Review/Data Analysis/Verification Work / David Howard


Service      Texas Permanent Injunction - 11/23/2021 - Document                 7.00         $325.00      $2,275.00
             Review/Data Analysis/Verification Work / Melea Weber


Service      Texas Permanent Injunction - 11/23/2021 - Document                 6.25         $395.00      $2,468.75
             Review/Data Analysis/Verification Work / Charlene Womack


Service      Texas Permanent Injunction - 11/23/2021 - Document                 1.25         $325.00        $406.25
             Review/Data Analysis/Verification Work / Mary Graw Leary


Service      Texas Permanent Injunction - 11/23/2021 - Communication or         1.50         $395.00        $592.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Nadia
             Sexton


Service      Texas Permanent Injunction - 11/23/2021 - Document                 7.00         $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Nadia Sexton


Service      Texas Permanent Injunction - 11/23/2021 - Project                  1.00         $325.00        $325.00
             Management & Planning / Tim Ross


Service      Texas Permanent Injunction - 11/23/2021 - Project                  0.75          $85.00         $63.75
             Management & Planning / Taran Dugal


Service      Texas Permanent Injunction - 11/23/2021 - Project                  0.50         $325.00        $162.50
             Management & Planning / Tim Ross


Service      Texas Permanent Injunction - 11/23/2021 - Document                 2.00         $325.00        $650.00
             Review/Data Analysis/Verification Work / Tim Ross


Service      Texas Permanent Injunction - 11/23/2021 - Project                  0.75         $250.00        $187.50
             Management & Planning / Samantha Loewen


Service      Texas Permanent Injunction - 11/23/2021 - Project                  0.75         $250.00        $187.50
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/23/2021 - Project                  0.50         $250.00        $125.00
             Management & Planning / Samantha Loewen


Service      Texas Permanent Injunction - 11/24/2021 - Document                 5.50         $395.00      $2,172.50
             Review/Data Analysis/Verification Work / Megan Annitto




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Service      Texas Permanent Injunction - 11/24/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/24/2021 - Communication or         0.25         $425.00        $106.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/24/2021 - Communication or         0.25         $425.00        $106.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/24/2021 - Document                 0.75         $425.00        $318.75
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/24/2021 - Report and               1.00         $425.00        $425.00
             Document Preparation / Kevin Ryan


Service      Texas Permanent Injunction - 11/24/2021 - Communication or         0.25         $425.00        $106.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/24/2021 - Communication or         0.50         $425.00        $212.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/24/2021 - Document                 7.00         $120.00        $840.00
             Review/Data Analysis/Verification Work / Natalie Nunez


Service      Texas Permanent Injunction - 11/24/2021 - Document                 2.25         $395.00        $888.75
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/24/2021 - Document                 7.00         $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Aileen Williams


Service      Texas Permanent Injunction - 11/24/2021 - Document                 0.25         $395.00         $98.75
             Review/Data Analysis/Verification Work / Eileen Crummy


Service      Texas Permanent Injunction - 11/24/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/24/2021 - Document                 7.00         $325.00      $2,275.00
             Review/Data Analysis/Verification Work / Melea Weber


Service      Texas Permanent Injunction - 11/24/2021 - Communication or         0.25         $325.00         $81.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Melea Weber


Service      Texas Permanent Injunction - 11/24/2021 - Document                 2.00         $325.00        $650.00
             Review/Data Analysis/Verification Work / Mary Graw Leary




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Service      Texas Permanent Injunction - 11/24/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Nadia
             Sexton


Service      Texas Permanent Injunction - 11/24/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Nadia
             Sexton


Service      Texas Permanent Injunction - 11/24/2021 - Document                 7.00         $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Nadia Sexton


Service      Texas Permanent Injunction - 11/25/2021 - Document                 1.00         $325.00        $325.00
             Review/Data Analysis/Verification Work / Mary Graw Leary


Service      Texas Permanent Injunction - 11/26/2021 - Document                 1.50         $425.00        $637.50
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/26/2021 - Document                 2.75         $425.00      $1,168.75
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/27/2021 - Communication or         0.50         $425.00        $212.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/27/2021 - Document                 6.25         $425.00      $2,656.25
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/27/2021 - Document                 1.50         $425.00        $637.50
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/27/2021 - Communication or         0.25         $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/27/2021 - Document                 1.75         $395.00        $691.25
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/27/2021 - Document                 0.50         $425.00        $212.50
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/27/2021 - Document                 1.50         $325.00        $487.50
             Review/Data Analysis/Verification Work / Mary Graw Leary


Service      Texas Permanent Injunction - 11/27/2021 - Project                  2.00          $85.00        $170.00
             Management & Planning / Zsa Zsa Toms


Service      Texas Permanent Injunction - 11/28/2021 - Document                 2.75         $395.00      $1,086.25
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/28/2021 - Document                 4.00         $325.00      $1,300.00
             Review/Data Analysis/Verification Work / David Howard




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Service      Texas Permanent Injunction - 11/28/2021 - Document                1.25          $395.00        $493.75
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/28/2021 - Document                0.75          $395.00        $296.25
             Review/Data Analysis/Verification Work / Diane Scott


Service      Texas Permanent Injunction - 11/28/2021 - Document                2.00          $325.00        $650.00
             Review/Data Analysis/Verification Work / Mary Graw Leary


Service      Texas Permanent Injunction - 11/28/2021 - Document                4.00          $325.00      $1,300.00
             Review/Data Analysis/Verification Work / Tim Ross


Service      Texas Permanent Injunction - 11/29/2021 - Project                 1.00          $395.00        $395.00
             Management & Planning / Megan Annitto


Service      Texas Permanent Injunction - 11/29/2021 - Document                2.00          $395.00        $790.00
             Review/Data Analysis/Verification Work / Megan Annitto


Service      Texas Permanent Injunction - 11/29/2021 - Document                4.50          $395.00      $1,777.50
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/29/2021 - Communication or        0.25          $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/29/2021 - Communication or        1.50          $325.00        $487.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Melea Weber


Service      Texas Permanent Injunction - 11/29/2021 - Document                7.00          $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Charlene Womack


Service      Texas Permanent Injunction - 11/29/2021 - Document                1.00          $395.00        $395.00
             Review/Data Analysis/Verification Work / Lisa Taylor


Service      Texas Permanent Injunction - 11/29/2021 - Document                4.25          $325.00      $1,381.25
             Review/Data Analysis/Verification Work / Melea Weber


Service      Texas Permanent Injunction - 11/29/2021 - Communication or        0.25          $325.00         $81.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Melea Weber


Service      Texas Permanent Injunction - 11/29/2021 - Communication or        1.50          $395.00        $592.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/29/2021 - Communication or        0.25          $395.00         $98.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/29/2021 - Report and              2.50          $395.00        $987.50
             Document Preparation / Megan Annitto



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Service      Texas Permanent Injunction - 11/29/2021 - Document                 7.00         $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Robin Coleman


Service      Texas Permanent Injunction - 11/29/2021 - Communication or         1.00         $425.00        $425.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/29/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
             Taylor


Service      Texas Permanent Injunction - 11/29/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Eileen Crummy


Service      Texas Permanent Injunction - 11/29/2021 - Document                 1.00         $395.00        $395.00
             Review/Data Analysis/Verification Work / Eileen Crummy


Service      Texas Permanent Injunction - 11/29/2021 - Document                 7.00         $395.00      $2,765.00
             Review/Data Analysis/Verification Work / Claudia Tahan


Service      Texas Permanent Injunction - 11/29/2021 - Document                 8.00         $395.00      $3,160.00
             Review/Data Analysis/Verification Work / Jody Drebes


Service      Texas Permanent Injunction - 11/29/2021 - Communication or         1.75         $120.00        $210.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Natalie Nunez


Service      Texas Permanent Injunction - 11/29/2021 - Document                 5.25         $120.00        $630.00
             Review/Data Analysis/Verification Work / Natalie Nunez


Service      Texas Permanent Injunction - 11/29/2021 - Communication or         0.75         $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/29/2021 - Document                 0.75         $425.00        $318.75
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/29/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/29/2021 - Communication or         0.75         $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/29/2021 - Communication or         1.25         $395.00        $493.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/29/2021 - Document                 1.25         $395.00        $493.75
             Review/Data Analysis/Verification Work / Diane Scott



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Service      Texas Permanent Injunction - 11/29/2021 - Report and               0.75         $425.00        $318.75
             Document Preparation / Kevin Ryan


Service      Texas Permanent Injunction - 11/29/2021 - Report and               2.75         $425.00      $1,168.75
             Document Preparation / Kevin Ryan


Service      Texas Permanent Injunction - 11/29/2021 - Document                 1.25         $325.00        $406.25
             Review/Data Analysis/Verification Work / Mary Graw Leary


Service      Texas Permanent Injunction - 11/29/2021 - Document                 2.50         $395.00        $987.50
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/29/2021 - Communication or         1.25         $325.00        $406.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / David
             Howard


Service      Texas Permanent Injunction - 11/29/2021 - Document                 1.00         $325.00        $325.00
             Review/Data Analysis/Verification Work / David Howard


Service      Texas Permanent Injunction - 11/29/2021 - Project                  0.50         $325.00        $162.50
             Management & Planning / Tim Ross


Service      Texas Permanent Injunction - 11/29/2021 - Document                 1.50         $250.00        $375.00
             Review/Data Analysis/Verification Work / June Simon


Service      Texas Permanent Injunction - 11/29/2021 - Project                  0.25         $250.00         $62.50
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/29/2021 - Document                 0.50         $250.00        $125.00
             Review/Data Analysis/Verification Work / Samantha Loewen


Service      Texas Permanent Injunction - 11/29/2021 - Document                 0.25         $325.00         $81.25
             Review/Data Analysis/Verification Work / Tim Ross


Service      Texas Permanent Injunction - 11/29/2021 - Project                  2.00          $85.00        $170.00
             Management & Planning / Zsa Zsa Toms


Service      Texas Permanent Injunction - 11/30/2021 - Document                 5.50         $395.00      $2,172.50
             Review/Data Analysis/Verification Work / Robin Coleman


Service      Texas Permanent Injunction - 11/30/2021 - Project                  1.50         $425.00        $637.50
             Management & Planning / Kevin Ryan


Service      Texas Permanent Injunction - 11/30/2021 - Document                 2.50         $395.00        $987.50
             Review/Data Analysis/Verification Work / Megan Annitto


Service      Texas Permanent Injunction - 11/30/2021 - Communication or         0.75         $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Eileen Crummy




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Service      Texas Permanent Injunction - 11/30/2021 - Communication or         0.75         $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
             Taylor


Service      Texas Permanent Injunction - 11/30/2021 - Document                 0.25         $395.00         $98.75
             Review/Data Analysis/Verification Work / Eileen Crummy


Service      Texas Permanent Injunction - 11/30/2021 - Project                  0.25         $395.00         $98.75
             Management & Planning / Lisa Taylor


Service      Texas Permanent Injunction - 11/30/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/30/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Robin
             Coleman


Service      Texas Permanent Injunction - 11/30/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Robin
             Coleman


Service      Texas Permanent Injunction - 11/30/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charmaine Thomas


Service      Texas Permanent Injunction - 11/30/2021 - Document                 2.50         $395.00        $987.50
             Review/Data Analysis/Verification Work / Charmaine Thomas


Service      Texas Permanent Injunction - 11/30/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/30/2021 - Report and               1.00         $395.00        $395.00
             Document Preparation / Megan Annitto


Service      Texas Permanent Injunction - 11/30/2021 - Document                 6.00         $395.00      $2,370.00
             Review/Data Analysis/Verification Work / Claudia Tahan


Service      Texas Permanent Injunction - 11/30/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Claudia Tahan


Service      Texas Permanent Injunction - 11/30/2021 - Document                 6.25         $395.00      $2,468.75
             Review/Data Analysis/Verification Work / Jody Drebes


Service      Texas Permanent Injunction - 11/30/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
             Drebes


Service      Texas Permanent Injunction - 11/30/2021 - Document                 6.50         $325.00      $2,112.50
             Review/Data Analysis/Verification Work / Melea Weber



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Service      Texas Permanent Injunction - 11/30/2021 - Communication or      0.50          $120.00         $60.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Natalie Nunez


Service      Texas Permanent Injunction - 11/30/2021 - Communication or      0.50          $325.00        $162.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Melea Weber


Service      Texas Permanent Injunction - 11/30/2021 - Document              6.50          $120.00        $780.00
             Review/Data Analysis/Verification Work / Natalie Nunez


Service      Texas Permanent Injunction - 11/30/2021 - Document              7.50          $395.00      $2,962.50
             Review/Data Analysis/Verification Work / Nadia Sexton


Service      Texas Permanent Injunction - 11/30/2021 - Communication or      0.50          $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/30/2021 - Communication or      1.25          $395.00        $493.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/30/2021 - Communication or      0.75          $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/30/2021 - Communication or      1.00          $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Megan Annitto


Service      Texas Permanent Injunction - 11/30/2021 - Communication or      1.00          $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Charlene Womack


Service      Texas Permanent Injunction - 11/30/2021 - Document              6.00          $395.00      $2,370.00
             Review/Data Analysis/Verification Work / Charlene Womack


Service      Texas Permanent Injunction - 11/30/2021 - Communication or      0.75          $395.00        $296.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Cheryl MacDougall


Service      Texas Permanent Injunction - 11/30/2021 - Communication or      1.00          $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Cheryl MacDougall


Service      Texas Permanent Injunction - 11/30/2021 - Document              0.75          $395.00        $296.25
             Review/Data Analysis/Verification Work / Cheryl MacDougall


Service      Texas Permanent Injunction - 11/30/2021 - Document              1.00          $395.00        $395.00
             Review/Data Analysis/Verification Work / Cheryl MacDougall


Service      Texas Permanent Injunction - 11/30/2021 - Document              3.50          $395.00      $1,382.50
             Review/Data Analysis/Verification Work / Cheryl MacDougall


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Service      Texas Permanent Injunction - 11/30/2021 - Document                 1.50         $325.00        $487.50
             Review/Data Analysis/Verification Work / David Howard


Service      Texas Permanent Injunction - 11/30/2021 - Communication or         1.00         $425.00        $425.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/30/2021 - Communication or         0.75         $425.00        $318.75
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/30/2021 - Communication or         0.25         $425.00        $106.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/30/2021 - Communication or         0.50         $425.00        $212.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/30/2021 - Report and               1.75         $425.00        $743.75
             Document Preparation / Kevin Ryan


Service      Texas Permanent Injunction - 11/30/2021 - Communication or         0.25         $425.00        $106.25
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
             Ryan


Service      Texas Permanent Injunction - 11/30/2021 - Document                 0.25         $425.00        $106.25
             Review/Data Analysis/Verification Work / Kevin Ryan


Service      Texas Permanent Injunction - 11/30/2021 - Communication or         0.50         $395.00        $197.50
             Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
             Scott


Service      Texas Permanent Injunction - 11/30/2021 - Communication or         1.00         $395.00        $395.00
             Meeting with the Court, a Party, Monitor/Monitors’ Staff /
             Aileen Williams


Service      Texas Permanent Injunction - 11/30/2021 - Document                 6.00         $395.00      $2,370.00
             Review/Data Analysis/Verification Work / Aileen Williams


Service      Texas Permanent Injunction - 11/30/2021 - Project                  0.50         $250.00        $125.00
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/30/2021 - Project                  0.25         $250.00         $62.50
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/30/2021 - Project                  0.50         $250.00        $125.00
             Management & Planning / June Simon


Service      Texas Permanent Injunction - 11/30/2021 - Project                  0.50         $250.00        $125.00
             Management & Planning / June Simon




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Service      Texas Permanent Injunction - 11/30/2021 - Document                 0.50         $250.00        $125.00
             Review/Data Analysis/Verification Work / Samantha Loewen


Service      Texas Permanent Injunction - 11/30/2021 - Project                  0.50         $250.00        $125.00
             Management & Planning / Samantha Loewen


Service      Texas Permanent Injunction - 11/30/2021 - Communication or         0.50         $250.00        $125.00
             Meeting with the Court, a party, Monitor/Monitors' Staff /
             Samantha Loewen


Service      Texas Permanent Injunction - 11/30/2021 - Communication or         0.50         $325.00        $162.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Tim
             Ross


Service      Texas Permanent Injunction - 11/30/2021 - Document                 0.25         $325.00         $81.25
             Review/Data Analysis/Verification Work / Tim Ross


Service      Texas Permanent Injunction - 11/30/2021 - Report and               1.00         $325.00        $325.00
             Document Preparation / Tim Ross


Service      Texas Permanent Injunction - 11/30/2021 - Document                 0.50         $325.00        $162.50
             Review/Data Analysis/Verification Work / Tim Ross


Service      Texas Permanent Injunction - 11/30/2021 - Project                  0.50         $325.00        $162.50
             Management & Planning / Tim Ross


Service      Texas Permanent Injunction - 11/30/2021 - Action Research          0.50          $85.00         $42.50
             work meeting / Taran Dugal


Service      Texas Permanent Injunction - 11/30/2021 - Communication or         0.50          $85.00         $42.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Taran
             Dugal


                                                                                       Amount Due      $605,353.75




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